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1    McGREGOR W. SCOTT
     United States Attorney
2    ANNE PINGS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2785

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7
8              IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         No. 2:06-cr-00200-MCE
                                   )
12                  Plaintiff,     )
                                   )         STIPULATION AND ORDER
13                                 )         SETTING NEW TRIAL DATE
          v.                       )
14                                 )
                                   )         Date: October 27, 2008
15   DONALD A. EDGECOMB,           )         Time: 9:00 a.m.
                                   )         Hon. Morrison C. England, Jr.
                    Defendant.     )
16   ______________________________)
17        It is hereby stipulated and agreed, by and between the
18   defendant, Donald A. Edgecomb, by and through counsel, Bruce
19   Locke, and the United States, through its counsel, Assistant
20   United States Attorney Anne Pings, to vacate the trial
21   confirmation date of August 7, 2008, and the trial date of August
22   25, 2008, and to set a new trial confirmation date of October 2,
23   2008, and a new trial date of October 27, 2008.        These proposed
24   dates were approved by the Court's deputy clerk.
25        The government has informed the defendant that it intends to
26   seek a superseding indictment and the defendant has informed the
27   government that it intends to file a writ ad testificandum to
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1    procure the presence of witness(es) currently incarcerated.           In
2    light of the foregoing, both parties have agreed that they need
3    additional time to prepare for trial.
4         The parties agree that time should be excluded under the
5    Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(iv) (preparation of
6    counsel) until October 27, 2008, in that the ends of justice
7    served by allowing defendant's counsel time to procure the
8    presence of witnesses, conduct further factual investigation
9    regarding the superseding indictment, and to prepare meaningfully
10   for trial outweigh the best interest of the public and the
11   defendant in a speedy trial.
12                                    Respectfully submitted,
13                                    McGREGOR W. SCOTT
                                      United States Attorney
14
                                      /s/ Anne Pings
15
                                      ANNE PINGS
16                                    Assistant United States Attorney
17
                                      /s/ Anne Pings
18
                                      For Bruce Locke
19                                    Counsel for Defendant Edgecomb
20
          IT IS SO ORDERED.
21
22   Dated: May 6, 2008

23
                                      _____________________________
24                                    MORRISON C. ENGLAND, JR.
25                                    UNITED STATES DISTRICT JUDGE

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